      Case 6:20-cv-01248-JAR-KGG Document 24 Filed 10/21/20 Page 1 of 3




                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

 PETER MARIO GOICO,

               Plaintiff,

               v.                                         Case No. 20-1248-JAR-KGG

 UNITED STATES FOOD AND DRUG
 ADMINISTRATION and STEPHEN M.
 HAHN, COMMISSIONER OF FOOD AND
 DRUGS,
         Defendants.


                                 MEMORANDUM AND ORDER

       On September 16, 2020, pro se Plaintiff Peter Mario Goico filed a Civil Complaint

against Defendants, the U.S. Food and Drug Administration (“FDA”) and its Commissioner,

Stephen M. Hahn, alleging that the FDA is effectively holding him and his elderly father under

illegal house arrest by withholding hydroxychloroquine for the prevention of the SARS-CoV-2

(“COVID-19”) virus. Plaintiff’s Complaint requests that this Court “enjoin the FDA from

disallowing prophylaxis [sic] use of hydroxychloroquine and enjoin any medical authority from

punishing any doctor who prescribes hydroxychloroquine as a prophylaxis for COVID-19.”1

Before Defendants appeared in this case, Plaintiff filed an Emergency Motion for Preliminary

Injunction seeking such relief.2

       Because Plaintiff titled his pleading as an “emergency” motion, the Court examined

whether Plaintiff had satisfied his heavy burden in seeking a temporary restraining order

(“TRO”) without notice under Fed. R. Civ. P. 65(b)(1). In an order dated September 22, 2020,



       1
           Doc. 1 at 3.
       2
           Doc. 4.
      Case 6:20-cv-01248-JAR-KGG Document 24 Filed 10/21/20 Page 2 of 3




the Court found that Plaintiff had not met that burden because he failed to make a sufficient

showing that he would suffer irreparable and immediate harm before Defendants could be heard

in opposition to his motion.3 The Court ordered Defendants to respond to Plaintiff’s motion for a

preliminary injunction on or before October 20, 2020, and stated that upon entry of appearances

by all Defendants, it would contact the parties to schedule a preliminary injunction hearing.

       Rather than awaiting Defendants’ response to his motion for a preliminary injunction,

Plaintiff filed a second Emergency Motion for TRO,4 which the Court denied on September 28,

2020.5 The Court ordered that the October 20, 2020 deadline for Defendants’ response to

Plaintiff’s motion for a preliminary injunction would remain in effect. Plaintiff has since filed a

motion for reconsideration of the Court’s denial of his second request for a TRO.6

       On October 20, 2020, Defendants filed a Motion to Dismiss for Lack of Subject Matter

Jurisdiction and Failure to State a Claim Upon Which Relief Can Be Granted, along with their

opposition to Plaintiff’s motion for a preliminary injunction.7 Defendants raise lack of standing

and subject matter jurisdiction, which are threshold issues. Because the Court must assure itself

of its own jurisdiction before proceeding to any request for injunctive relief, the Court will

decide Defendants’ motion to dismiss before ruling on Plaintiff’s motion for a preliminary

injunction.

       IT IS THEREFORE ORDERED BY THE COURT that Plaintiff shall file his reply in

support of his Emergency Motion for Preliminary Injunction and his response to Defendants’



       3
           Doc. 6.
       4
           Doc. 14.
       5
           Doc. 15.
       6
           Doc. 20.
       7
           Docs. 22−23.




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      Case 6:20-cv-01248-JAR-KGG Document 24 Filed 10/21/20 Page 3 of 3




Motion to Dismiss for Lack of Subject Matter Jurisdiction and Failure to State a Claim Upon

Which Relief Can Be Granted on or before November 10, 2020. Defendants’ reply in support

of their motion to dismiss shall be filed within fourteen (14) days of the date on which Plaintiff

files his response. No further briefing on these motions shall be permitted. If this action remains

pending after the Court issues a ruling on Defendants’ motion to dismiss, the Court will promptly

set a hearing date for Plaintiff’s motion for a preliminary injunction.

       IT IS SO ORDERED.

       Dated: October 21, 2020

                                                      S/ Julie A. Robinson
                                                      JULIE A. ROBINSON
                                                      UNITED STATES DISTRICT JUDGE




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